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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION
                                                                                iFEB | 2 2023
  UNITED STATES OF AMERICA                  §          SEALED                 Cl<-'k Us, Di'sfrjCf Co,lrf

                                            §                                      texas Eastern
  v.                                        §          Case No. 4:20CR 31
                                            §          Judge (WAZza -
                                            §
  CRAIG REASON (2)                          §


                                       INDICTMENT

       THE UNITED STATES GRAND JURY CHARGES:

                                        COUNT ONE
                                                Violation: 21 U.S.C. § 846 (Conspiracy
                                                to Possess with Intent to Distribute
                                                Methamphetamine)

         That from sometime in or around December 2018, and continuously thereafter up

 to in or around September 2019, in the Eastern District of Texas and elsewhere,

             and Craig Beason, did knowingly and intentionally combine, conspire, and

 agree with each other and other persons known and unknown to the United States Grand

Jury, to knowingly and intentionally possess with the intent to distribute a substance or

mixture containing a detectable amount of methamphetamine, in violation of 21 U.S.C. §

841(a)(1).
         In violation of 21 U.S.C. § 846.




Indictment
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              NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

        As a result of committing the offenses charged in this Indictment, the defe dant

 shall forfeit to the United States, pursuant to 21 U.S.C. § 853, all property used to commit

 or facilitate the offenses, proceeds from the offenses, and property derived from proceeds

 obtained directly or indirectly from the offenses.


                                                      A TRUE BILL



                                                      GRAND JURY FOREPERSON

 JOSEPH D. BROWN
 UNITED STATES ATTORNEY



 G.R. JACKSON Date
 ANAND VARADARAJAN

 Attorneys for the United States




 Indictment
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  UNITED STATES OF AMERICA                     §           SEALED
                                               §
  v.                                           §           Case No. 4:20CR
                                               §           Judge
                                               §
  CRAIG SEASON (2)                             §


                                   NOTICE OF PENALTY
                                          Count One

 Violation: 21 U.S.C. § 846

 Penalty: Imprisonment for a term of not more than 20 years, a fine not to exceed $1
              million, or both; and a term of supervised release of at least three years.

                If it is shown that the defendant committed such violation after a prior
                conviction fo a felony drug offense has become final, not more than 30
                years, a fine not to exceed $2 million, or both; a term of supervised release
                of at least 6 years.


 Special
 Assessment: $100.00




 Notice of Penalty
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